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                                                    UNITED STATES DISTRICT COURT
               17                                 NORTHERN DISTRICT OF CALIFORNIA
                                                         OAKLAND DIVISION
               18
               19      COALITION ON HOMELESSNESS, et al.,           CASE NO. 4:22-cv-05502-DMR
                                              Plaintiffs.           SECOND SUPPLEMENTAL
               20
                                 v.                                 DECLARATION OF JENNIFER
               21                                                   FRIEDENBACH
                       CITY AND COUNTY OF SAN FRANCISCO,
               22      et. al.,
                                             Defendants.            Judge:        The Hon. Donna M. Ryu
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                   1        SECOND SUPPLEMENTAL DECLARATION OF JENNIFER FRIEDENBACH

                   2          I, Jennifer Friedenbach, hereby declare pursuant to 28 U.S.C. § 1746:

                   3          1.      I am the Executive Director of the Coalition on Homelessness (“COH” or “the

                   4   Coalition”). This role includes intimate knowledge of the organization’s mission, programmatic

                   5   work, finances, and staffing. Additionally, whenever my schedule allows, I perform in-person

                   6   field outreach and observe the City’s encampment resolutions.

                   7          2.      I previously provided a declaration in support of Plaintiffs’ motion for preliminary

                   8   injunction, Dkt. No 50-4. I submit this declaration regarding my observations at an HSOC

                   9   encampment resolution that took place on the morning of December 27, 2022.

               10             3.      All facts set forth in this declaration are based upon my personal knowledge, and,

               11      if called upon to testify as to the truth of these facts, I could and would competently do so.

               12      Observations at HSOC Encampment Resolution December 27, 2022: 17th Street from

               13      Hampshire to Mariposa Streets

               14             4.      To my knowledge, San Francisco has not reopened its shelter system, meaning

               15      that there are still around 1000 or more individuals waiting for shelter. Dozens of the Coalition’s

               16      active members are seeking shelter or a place to stay but have been unable to obtain it. Because

               17      San Francisco’s shelter system is closed, it is my understanding that no one HSOC approaches

               18      has access to shelter prior to a sweep operation.

               19             5.      Nonetheless, on December 27, 2022, I observed a sweep conducted by HSOC on

               20      17th Street between Hampshire and Mariposa Streets. I arrived at the location at approximately

               21      6:55 AM.

               22             6.      There were approximately 6 unhoused individuals present at this site at the time

               23      as well as at least one tent that was unattended but clearly not abandoned.

               24             7.      Enforcement without shelter availability: At this resolution, SFMTA was the first

               25      to arrive and set up cones to block off the area. An SFPD officer arrived at approximately 7:10

               26      AM. ERT and HOT personnel arrived after, at approximately 7:13 AM. A second police officer

               27      arrived at approximately 7:21 AM, followed by DPW employees and two pickup trucks at

               28      approximately 7:42 AM.
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                   1          8.      Soon after HOT employees arrived, they began approaching individuals present at

                   2   the encampment, shaking tents and waking individuals up, in the pouring rain. The City

                   3   employees, with the SFPD present, said loudly, “This is a resolution! You need to move!” I

                   4   heard no indication that this was just a temporary move or that people and their belongings could

                   5   return. At the same time, although HOT employees generally asked if people wanted shelter, the

                   6   HOT team admitted that they did not know what shelter spaces were actually available, and

                   7   would not know for hours. When an unhoused individual asked what options were available for

                   8   shelter, the HOT employees responded that they would not know until 11:00 AM.

                   9          9.      I spoke with individuals at the site who expressed that they would be interested in

               10      an appropriate shelter if it was offered to them. However, they explained that they understood

               11      that because the City had ordered them to leave the area, they would need to move immediately.

               12      This meant that everyone was already packing up prior to any firm offer of shelter being

               13      provided by the City. For example, one individual noted that “They always do the same thing,

               14      say they have something then it turns out to be nowhere for us to stay. They get mad at me

               15      because I move across the street and come back, but I have nowhere else.” In the end, most

               16      people at the site had already left the area before shelter bed availability was known, after they

               17      were told they would need to move while SFPD looked on.

               18             10.     One individual requested a private room because he had PTSD that was triggered

               19      due to a traumatic incident in a shelter. Although I specifically notified HOT of this, HOT had no

               20      shelter available to offer this person that would accommodate his needs. Nonetheless, he was

               21      also forced to pack up and leave the area.

               22      Continued Burden on Coalition on Homelessness

               23             11.     It is a continual burden on the Coalition to monitor the City’s conduct during

               24      these resolutions and track any noncompliance with both the Constitution and the Court’s order.

               25      Prior to the filing of this case, monitoring the City’s conduct meant diverting significant staff,

               26      volunteers, and funds to this reactive work of observing the City’s operations and protecting the

               27      rights of unhoused community members. See generally Decl. of the Coalition on Homelessness,

               28      ¶¶ 11-22, Dkt. # 9-3 [1-3 – 1-6]. This burden has only increased since the filing of this case.
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                   1          12.     Since the filing of this case, we have diverted a tremendous amount of resources

                   2   to monitoring the City’s conduct. The City has been noticing us of 10 planned resolutions per

                   3   week. We have sought to have staff members at as many of these resolutions as possible to

                   4   protect the unhoused individuals onsite from the City’s ongoing misconduct. But it has been a

                   5   struggle for our organization to do this monitoring. About 5 staff members have had to

                   6   collectively take approximately 24-25 hours per week to monitor these sweeps since we have

                   7   begun receiving notice of their planned locations. That time should have been spent helping

                   8   unhoused people improve their general quality of life while also advocating for permanent

                   9   housing solutions in San Francisco, or working on our other proactive campaigns.

               10             13.     At sweep operations, our presence is critical to protect against more violations by

               11      the City and advocate on behalf of unhoused people and our members. Indeed, even with our

               12      presence, the City has persisted in blatant property destruction and criminalization of unhoused

               13      individuals. See generally Evans Supp. Decl., Dkt. # 50-1; James Supp. Decl., Dkt. # 50-2;

               14      Verner-Crist Decl., Dkt. # 50-3; Friedenbach Supp. Decl., Dkt. # 50-4.

               15             14.     No longer receiving 72-hour notice of planned sweep operations would make it

               16      much more difficult for us to monitor the City’s operations and compliance. We would have to

               17      rely on our members seeing sweeps by chance, after they have already started early in the

               18      morning. This already happens on a regular basis, and it is impossible to keep up with the

               19      multiple sweep operations occurring across the City on any given day. Without more robust

               20      notice and reporting, we have no prayer of monitoring the City’s conduct in a way that would

               21      actually protect unhoused individuals from the routine violations we have seen on a regular basis

               22      for years.

               23             15.     Monitoring is something the Coalition on Homelessness took on to address the

               24      immediate needs of our members. Working to report our observations in support of Plaintiffs’

               25      Motion for Preliminary Injunction, although essential to protecting our members, was extremely

               26      taxing on an organization that has already been asked to divert its resources to address a civil

               27      rights problem of San Francisco’s own making. We are concerned that those violations will

               28      continue unabated, as they have now for years.
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                   1          16.     Although we will continue to conduct this monitoring if that is what we need to

                   2   do, this model is simply not sustainable for us. It is draining our resources and defeating our

                   3   ultimate mission to expend this much effort stopping the City’s unlawful sweeps, rather than

                   4   focusing on our critical affordable housing campaigns that are at the core of our mission.

                   5

                   6   I declare under penalty of perjury that the contents of this declaration are true and correct to the

                   7   best of my knowledge, and that I executed this declaration on January 5, 2023 in San Francisco,

                   8   California.

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                                                                             _________________
               10                                                            Jennifer Friedenbach
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